
66 So.3d 1076 (2011)
Robert Lee YOUNG, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-6410.
District Court of Appeal of Florida, First District.
August 9, 2011.
Robert Lee Young, pro se, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant is appealing an order in which the trial court struck the appellant's postconviction claims as facially insufficient and, in accordance with Spera v. State, 971 So.2d 754, 761 (Fla.2007), granted the appellant thirty days to amend. The order is a nonappealable, nonfinal order. See Lee v. State, 939 So.2d 154, 155 (Fla. 1st DCA 2006).
DISMISSED.
BENTON, C.J., HAWKES and CLARK, JJ., concur.
